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 6   Attorney for Defendant
 7   BRETT TOWNSEND
 8
 9              IN THE UNITED STATES OF DISTRICT COURT FOR THE
10                         EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,
                                                   CR.S. No. Cr. 2:12-CR-00080 GEB
14
                               Plaintiff,
15                                                 REQUEST FOR AN ORDER [AND
                   v.                              PROPOSED ORDER] DIRECTING
16
                                                   THE U.S. MARSHALS SERVICE TO
17   BRETT TOWNSEND                                PROVIDE TRANSPORTATION TO
              Defendant.                           THE DEFENDANT FROM
18
                                                   CALIFORNIA TO PENNSYLVANIA
19
20
21
22          Mr. Townsend is a resident of Philadelphia, was arrested there, and transported to
23   the Eastern District of California. He was released on conditions and is supervised by the
24   Pretrial Services Agency. Mr. Townsend wishes to return home to Philadelphia. He is
25   indigent and without sufficient financial resources to return to Philadelphia on his own. I
26   have contacted the U.S. Marshals Service and have confirmed that they are able to pay
27   for transportation for the defendant to return to Philadelphia if they have a Court order
28   directing them to do so. Therefore, Mr. Townsend requests the court to order the U.S.



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 1   Marshals Service to provide transportation to Philadelphia because he is indigent and
 2   unable to pay for the cost to return to Philadelphia, Pennsylvania on his own.
 3
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 5                                                           Respectfully submitted,
 6
 7   Dated: January 30, 2013                                 /s/ David D. Fischer
                                                             DAVID D. FISCHER
 8
                                                             Attorney for Defendant
 9                                                           BRETT TOWNSEND
     IT IS SO ORDERED
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11   Dated: January 31, 2013.
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